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                                                                                                       7/8/20
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


  United States of America,

                 –v–
                                                                         18-cr-224 (AJN)
  Ali Sadr Hashemi Nejad,
                                                                             ORDER
                         Defendant.


ALISON J. NATHAN, District Judge:

       On March 16, 2020, following a two-week trial, a jury convicted Mr. Sadr of conspiracy

to defraud the United States, conspiracy to violate the International Emergency Economic

Powers Act, bank fraud, bank fraud conspiracy, and money laundering. See Dkt. No. 310. After

his conviction, on June 5, 2020, the Court received an application from the United States

Attorney for the Southern District of New York “for an order of nolle prosequi of the

Indictments filed in this case against Ali Sadr Hashemi Nejadin (‘Sadr’).” Dkt. Nos. 348, 348-1.

Letter briefing by both sides followed, and the Court ordered the Government to respond to a set

of questions. Dkt. No. 350.

       It is clear on the face of the letter briefing submitted by the parties thus far that, in light of

the prosecutorial errors in this case, both the Government and Mr. Sadr agree that the indictment

should be dismissed with prejudice. The Court intends to do so.

       The parties disagree, however, on the proper procedural mechanism for dismissal.

Mr. Sadr argues that the Court should grant his now-unopposed motion for a new trial and then

dismiss the indictment with prejudice under Federal Rule of Criminal Procedure 48(a). See Dkt.

No. 349. The Government consents to a dismissal with prejudice, but contends that the Court

should simply dismiss the indictment with prejudice, thus mooting Mr. Sadr’s motion for a new

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trial. See Dkt. No. 351 at 1. In their letter briefing thus far, however, neither party provides

legal support for the proposed procedural sequencing. Nor do the parties adequately explain how

their approaches practically differ.

       The letter briefing submitted by the parties also evinces a factual dispute as to whether

any Government lawyers acted in bad faith in this case. Compare Dkt. No. 354 with Dkt. No.

355. The Court acknowledges that the United States Attorney’s Office for the Southern District

of New York maintains that the litany of issues that have arisen in this case, including the failure

to disclose what the Government now concedes was exculpatory information, were not the

product of bad faith, knowing misrepresentations, or an intentional failure to comply with

discovery obligations. See generally Dkt. No. 354; see also id. at 8 (explaining that the

Government lawyers did not see any exculpatory value of GX 411 until the defense raised this

issue); Trial Tr. at 1005:5–6 (Government: “Now that . . . we understand the potentially

exculpatory aspect of [GX 411] . . .”). This conclusion of an absence of bad faith may well be

correct, but it rests upon positive credibility determinations made by the leadership of the U.S.

Attorney’s Office with respect to the line prosecutors involved in this case and does not

necessarily account for, among other things, apparent disagreement among the Government

lawyers as to certain factual matters bearing on individual knowledge and responsibility for

disclosure failures and misrepresentations. See Dkt. No. 354 at 10 n.6. Moreover, based on the

existing record, Mr. Sadr points to the Government’s failure to address and sufficiently explain

several serious issues newly disclosed in the Government’s July 2, 2020 letter, and he raises

colorable challenges to the Government’s ultimate conclusions. See generally Dkt. No. 355.

       In light of what has occurred in this case, the internal communications newly disclosed

by the Government in its July 2, 2020 letter, see Dkt. No. 354, and Mr. Sadr’s arguments



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regarding the Government’s conduct in this case, see Dkt. No. 355, it may be necessary for the

Court to hold an evidentiary hearing in order to independently assess whether the issues that

have arisen were the product of bad faith, knowing misrepresentations, or an intentional failure

to comply with discovery obligations. Such a hearing (to be conducted in-person when safely

feasible) would allow the Court to assess the credibility of the assurances of unintentional error

made by the line prosecutors involved in this case.

       In view of these issues, and in order to chart a course forward, the Court requires

additional briefing from the parties. Accordingly, it hereby orders the parties to submit briefing

setting forth their respective positions on the proper procedural mechanism for dismissal. This

briefing must include legal authority supporting their proposed procedural sequencing and must

explain what the practical difference is in their contrasting approaches. This briefing must also

explicitly address whether the Court must make any determination at this juncture as to whether

any of the Government lawyers acted in bad faith in order to resolve the parties’ procedural

dispute, or, alternatively, whether such a determination should be made following dismissal, as

part of the Court’s supervisory power in determining whether any of the lawyers involved

engaged in ethical violations and/or prosecutorial misconduct. The Government has agreed that

the Court’s power to resolve those questions continues after the indictment is dismissed. See

Dkt. No. 352 at 2.

       Mr. Sadr shall submit briefing addressing these issues by July 15, 2020. The

Government shall submit a response to Mr. Sadr’s briefing, setting forth its position with respect

to these issues, by July 22, 2020. Mr. Sadr may file a reply by July 24, 2020.

       SO ORDERED.




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Dated: July 8, 2020
       New York, New York

                                     ____________________________________
                                               ALISON J. NATHAN
                                             United States District Judge




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